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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

                     Plaintiff,
                     vs.                            Civil Action No. 1:18-cv-8865-AJN-GWG

 ELON MUSK,
                     Defendant.


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

                     Plaintiff,
                                                    Civil Action No. 1:18-cv-8947
                     vs.
TESLA, INC.,

                     Defendant.
 
PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S NOTICE OF CONSENT
        MOTION TO CONSOLIDATE FOR DISTRIBUTION PURPOSES

       PLEASE TAKE NOTICE that upon the accompanying Consent Motion, Memorandum,

and Proposed Order, and all other papers and proceedings herein, Plaintiff, the Securities and

Exchange Commission, will move this Court for an Order consolidating the above actions for

distribution purposes pursuant to Federal Rule of Civil Procedure 42.

Dated: February 5, 2019                             Respectfully Submitted,

                                                    /s/ E. Barrett Atwood
                                                    E. Barrett Atwood
                                                    Cheryl L. Crumpton

                                                    U.S. Securities and Exchange Commission
                                                    44 Montgomery Street, Suite 2800
                                                    San Francisco, CA 94104
                                                    (415) 705-2467 (Atwood)
          Case 1:18-cv-08865-AJN Document 15 Filed 02/05/19 Page 2 of 2




                                                       100 F Street, N.E.
                                                       Washington, D.C. 20549
                                                       (202) 551-4459 (Crumpton)



                                  CERTIFICATE OF SERVICE

       I, E. Barrett Atwood, Counsel for The United States Securities and Exchange

Commission, certify that on February 5, 2019, a true and correct copy of Plaintiff’s Notice of

Consent Motion was served electronically. Notice of this filing will be sent by operation of the

Court’s electronic filing system to all parties indicated on the electronic filing receipt. Parties

may access this filing through the Court’s system.


                                                       /s/ E. Barrett Atwood
                                                       E. Barrett Atwood
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

                     Plaintiff,
                     vs.                            Civil Action No. 1:18-cv-8865-AJN-GWG
ELON MUSK,
                     Defendant.


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

                     Plaintiff,
                     vs.                            Civil Action No. 1:18-cv-8947
TESLA, INC.,
                     Defendant.


       ORDER TO CONSOLIDATE ACTIONS FOR DISTRIBUTION PURPOSES

       The Court having reviewed the Securities and Exchange Commission’s consent motion to

consolidate actions and for good cause shown,

IT IS HEREBY ORDERED:

       1. Pursuant to Final Judgments entered in these two Securities and Exchange

Commission (“SEC”) enforcement actions, Defendants Elon Musk and Tesla, Inc. have paid

penalties in the total amount of $40,000,000.00. These funds were paid into an interest-bearing

account at the Bureau of Fiscal Services of the U.S. Treasury Department (the “Distribution

Funds”). Each final judgment provides, in part, that the Distribution Funds may be distributed

pursuant to the Fair Fund provisions of the Section 308(a) of the Sarbanes-Oxley Act of 2002, as

amended by the Dodd-Frank Act of 2010, 15 U.S.C. § 7246(a).
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       2. The Court hereby orders that the above-captioned actions are consolidated for the

purposes of distribution of funds to harmed investors.


Dated: _____________                                ________________________________
                                                    Hon. Alison J. Nathan
                                                    UNITED STATES DISTRICT JUDGE




                                                2
